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Attorneys for Defendant Sheri Jean Tanaka


                IN THE UNITED STATES DISTRICT COURT

                      FOR THE DISTRICT OF HAWAII


 UNITED STATES OF AMERICA,                  Case No. CR-22-00048-TMB-WRP

                   Plaintiff,    DEFENDANT SHERI J.
                                 TANAKA’S UNOPPOSED
     v.                          MOTION TO CONTINUE
                                 HEARING DATE;
 KEITH MITSUYOSHI KANESHIRO (1), CERTIFICATE OF SERVICE
 DENNIS KUNIYUKI MITSUNAGA (2),
 TERRI ANN OTANI (3),            Judge: Hon. Timothy M. Burgess
 AARON SHUNICHI FUJII (4),
 CHAD MICHAEL MCDONALD (5),      Current Hearing Date: 2/8/2024
 SHERI JEAN TANAKA (6),          Proposed Hearing Date: 2/26/2024

                   Defendants.




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      On January 26, 2024 the Court set a hearing for February 8, 2024 at 10:00 AM

regarding the multiple motions in limine that have been filed by the parties. (ECF

355). Undersigned counsel Mark Mermelstein, who is lead counsel for defendant

Sheri J. Tanaka, cannot attend that hearing due to a scheduling conflict.    By this ex

parte application, Ms. Tanaka respectfully asks the Court to change the hearing date

so that Mr. Mermelstein can argue the seven motions in limine he filed, as well as

responses to two government motions in limine which he also filed. (Mr.

Mermelstein filed Motions in Limine Nos. 1-5, 12 and 13, and will be filing responses

to the government’s Motions in Limine No. 2 and 5)

      Mr. Mermelstein also serves as lead trial counsel for Michael Patterson in a

case styled Lady Benjamin PD Cannon f/k/a Ben Cannon v. Romeo Sys., Inc., et al.,

C.A. No. 2021-0171-PAF (Del. Ch.) pending in Chancery Court in Delaware. That

case is in mid-trial and that court has scheduled the resumption of that trial in person

on February 8, 2024. Based on available flights and connections, Mr. Mermelstein

cannot get between Delaware and Honolulu during the week of February 6.

      Mr. Mermelstein has communicated with counsel for defendants in this case as

well as counsel for the government. The earliest date on which all counsel have

indicated they are available before trial for the hearing is February 26, 2024.




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      For these reasons, Ms. Tanaka respectfully asks the Court to grant her

unopposed Motion to reschedule the hearing date for the motions in limine from

February 8, 2024 to February 26, 2024, or as soon thereafter that the Court is

available.

DATED: January 31, 2024                Respectfully submitted,

                                       HOLMES, ATHEY,
                                       COWAN & MERMELSTEIN LLP


                                       By:    /s/ Mark Mermelstein
                                             MARK MERMELSTEIN

                                             Attorneys for Defendant
                                             Sheri Jean Tanaka




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                          CERTIFICATE OF SERVICE

      I hereby certify that a true and correct copy of the foregoing document was

served on the following counsel at their last known addresses by the CM/ECF system

on the date indicated below.

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DATED: January 31, 2024            Respectfully submitted,
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                                   COWAN & MERMELSTEIN LLP

                                   By:    /s/ Mark Mermelstein
                                         MARK MERMELSTEIN

                                         Attorneys for Defendant
                                         Sheri Jean Tanaka




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